Case 1:25-cv-00677-DLF   Document 68-1   Filed 05/13/25   Page 1 of 16




    EXHIBIT A
Case 1:25-cv-00677-DLF   Document 68-1   Filed 05/13/25   Page 2 of 16
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF          Document 68-1         Filed 05/13/25      Page 3 of 16




                   MEMORANDUM OF UNDERSTANDING
                              BETWEEN
  U.S. TREASURY DEPARTMENT on behalf of the INTERNAL REVENUE SERVICE
                                 AND
        U.S. DEPARTMENT OF HOMELAND SECURITY on behalf of the U.S.
                IMMIGRATION AND CUSTOMS ENFORCEMENT,

      FOR THE EXCHANGE OF INFORMATION FOR NONTAX CRIMINAL
                         ENFORCEMENT

1. INTRODUCTION:

   a. WHEREAS by Executive Order (EO) No. 14161, Protecting the United States from
      Foreign Terrorists and Other National Security and Public Safety Threats, 90 Fed. Reg.
      8451 (Jan. 20, 2025), the President directed the Secretary of State, in coordination with the
      Attorney General, the Secretary of Homeland Security, and the Director of National
      Intelligence, to take immediate steps to identify, exclude, or remove aliens illegally present
      in the United States; and

   b. WHEREAS the Department of Homeland Security has identified numerous aliens illegally
      present in the United States whom they have represented are under final orders to remove
      them from the United States; and

   c. WHEREAS the Department of Homeland Security has represented that each of the above-
      referenced individuals is under criminal investigation for violations of one or more
      specifically designated Federal criminal statutes (not involving tax administration),
      including 8 U.S.C. § 1253(a)(1); and

   d. WHEREAS the parties wish to enter into an agreement setting forth the procedures,
      processes, and safeguards to be followed upon the receipt of a request for the disclosure of
      information subject to the confidentiality requirements of Internal Revenue Code (IRC) §
      6103;

   e. NOW THEREFORE, this Memorandum of Understanding (MOU) between the U.S.
      Treasury Department / Internal Revenue Service (IRS), and the U.S. Department of
      Homeland Security / U.S. Immigration and Customs Enforcement (ICE), sets forth the
      agreement of the parties with respect to ICE’s use of the authority in IRC § 6103(i)(2) for
      the submission of requests for addresses of persons subject to criminal investigation under
      8 U.S.C. § 1253(a)(1) or another specifically designated Federal criminal statute.

2. AUTHORITY:

The IRS enters into this MOU pursuant to IRC § 7803(a)(2), delegating to the IRS the authority to
administer the Internal Revenue Code, and IRC § 6103(i)(2), authorizing the disclosure of return
information other than taxpayer return information for purposes of the enforcement of a specified



              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
      Case 1:25-cv-00677-DLF          Document 68-1         Filed 05/13/25      Page 4 of 16




nontax Federal criminal statute. ICE enters into this MOU pursuant to 8 U.S.C. § 1253(a)(1), 8
U.S.C. § 1103, and 6 U.S.C. § 112(b)(2).

3. PURPOSE:

(U//LES) The purpose of this MOU is to establish the procedures and requirements for ICE’s
submission of valid IRC § 6103(i)(2) requests for addresses of persons subject to criminal
investigation under 8 U.S.C. § 1253(a)(1) or other specifically designated nontax Federal criminal
statutes. The specifications and details regarding the IRS’s and ICE’s procedural obligations and
requirements concerning the information exchange will be included in a separate implementation
agreement entered into between IRS and ICE.

4. CONTACTS:

A. Contacts for this MOU are the IRS designee(s) and the ICE designee(s). Refer to Exhibit A.

B. Succession of Authority. The IRS and ICE anticipate there may be changes to the titles and\or
   responsibilities of officers and employees designated within this MOU. In the event of such
   changes, any actions that may be taken under this MOU by said officers or employees, may be
   taken by any officer(s) or employee(s) the IRS and ICE determine to have succeeded to the
   relevant portions of said officers’ or employees’ authorities or responsibilities. Each party
   shall be responsible for ensuring the points of contact are current by providing a revised Exhibit
   A to all parties within 30 days of any change.

5. DUTIES AND RESPONSIBILITIES OF THE IRS:

The IRS will:

A. Receive requests for address information from ICE.

B. Review each request for completeness and validity and return to ICE any requests not meeting
   the requirements necessary for disclosure pursuant to IRC § 6103(i)(2). The IRS will provide
   explanations and/or reasons the request cannot be processed.

C. (U//LES) Search for the last known address for each individual in each request.

D. (U//LES) For each individual the IRS is able to identify from the information provided by ICE,
   provide the IRS last known address for that individual. For each individual the IRS cannot
   identify from the information provided by ICE, indicate “no match” in the response.

E. Send responses to ICE in the manner set forth herein.

F. Account for disclosures made under this MOU as required pursuant to IRC § 6103(p)(3)(A).


                                                 2
                UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
      Case 1:25-cv-00677-DLF         Document 68-1        Filed 05/13/25     Page 5 of 16




G. (U//LES) Specifications and details regarding the IRS’s procedural obligations and
   requirements concerning the information exchange will be included in a separate
   implementation agreement entered into between IRS and ICE.

6. DUTIES AND RESPONSIBILITIES OF ICE:

ICE will:

A. (U//LES) Send requests for address information for specifically identified individuals pursuant
   to the specifications contained in a separate implementation agreement between ICE and IRS.

B. Each request must be made consistent with IRC § 6103(i)(2)(A).

C. (U//LES) Each request will contain the following information with respect to each individual
   identified in the request:

   1. (U//LES) The name and address of the taxpayer.
   2. (U//LES) The taxable period or periods as to which the return information (address) they
      are seeking relates.
   3. (U//LES) The specifically designated nontax Federal criminal statute (i.e., 8 U.S.C.
      § 1253(a)(1) or other specifically designated nontax Federal criminal statute) under which
      an investigation or proceeding regarding the individual is being conducted.
   4. (U//LES) The date of the final order of removal and the related case number assigned to
      each such order.
   5. (U//LES) The specific reason or reasons why disclosure is, or may be, relevant to the
      nontax criminal investigation or proceeding. Any other information ICE can provide to
      help the IRS identify each individual, such as SSNs, ITINs, etc.
   6. (U//LES) Identity information for the ICE officers and employees personally and directly
      engaged in the nontax criminal investigation that may result in criminal charges against the
      individual under the specifically designated Federal criminal statute ICE has identified.

D. (U//LES) Each request will attest that the requested address information will only be used by
   officers and employees of ICE solely for the preparation for judicial or administrative
   proceedings, or investigation that may lead to such proceedings, pertaining to the enforcement
   of 8 U.S.C. § 1253(a)(1), other specifically designated Federal criminal statute, or any
   subsequent criminal proceedings.

E. ICE will use and redisclose the address information only as specifically authorized by IRC §
   6103(i)(2) as implemented in 26 C.F.R § 301.6103(i)-1. Specifically, the regulations provide:
   1. (U//LES) Return information disclosed under IRC § 6103(i)(2) shall be open to inspection
      by or disclosure to ICE officers and employees personally and directly engaged in, and for
      their necessary use in, proceedings and investigations that may result in such proceedings,
      pertaining to the enforcement of a specifically designated nontax Federal criminal statute.

   2. (U//LES) Return information disclosed under IRC § 6103(i)(2) may be disclosed by such
                                                3
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF          Document 68-1        Filed 05/13/25      Page 6 of 16




       ICE officers and employees to other persons only to the extent necessary to the
       enforcement of the specifically designated nontax Federal criminal statute, including:

       a. (U//LES) To properly obtain the services of persons having special knowledge or
          technical skills (such as, but not limited to, handwriting analysis, photographic
          development, sound recording enhancement, or voice identification);
       b. (U//LES) To properly interview, consult, depose, or interrogate or otherwise obtain
          relevant information from, the taxpayer to whom such return or return information
          relates (or such taxpayer's legal representative) or any witness who may be called to
          give evidence in the proceeding; or
       c. (U//LES) To properly conduct negotiations concerning, or obtain authorization for,
          disposition of the proceeding, in whole or in part, or stipulations of fact in connection
          with the proceeding.

   3. (U//LES) Among those persons to whom returns and return information may be disclosed
      by officers and employees of ICE on a need-to-know basis as provided are:

       a. (U//LES) Other ICE officers and employees such as clerical personnel (for example,
          secretaries, stenographers, docket and file room clerks, and mail room employees) and
          supervisory personnel;
       b. (U//LES) Officers and employees of another Federal agency (as defined in section
          6103(b)(9)) working under the direction and control of such ICE officers and
          employees; and
       c. (U//LES) Court reporters.

F. (U//LES) ICE will ensure the proper handling, transmission, safeguarding, and security of the
   address information as contained in Sections 8 and 9 of this MOU.

G. Specifications and details regarding ICE’s procedural obligations and requirements concerning
   the information exchange will be included in a separate implementation agreement entered into
   between IRS and ICE.




                                                4
             UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
      Case 1:25-cv-00677-DLF         Document 68-1        Filed 05/13/25     Page 7 of 16




7. DESCRIPTION OF THE RECORDS:

A. Systems of Records Notices

       1. The IRS will
             a. (U//LES) disclose address information from the System(s) of Records described
                in a separate implementation agreement entered into between the IRS and ICE.

       2. ICE will
             a. (U//LES) disclose the following subject identifier information: CVID; A
                 Number; First, Middle and Last Name; Address Information; Date of Birth;
                 Country of Citizenship; FBI Numbers; and Fingerprint Identification Number
                 (FINS), from the System(s) of Records described in a separate implementation
                 agreement entered into between the IRS and ICE; and

               b. (U//LES) maintain the address information provided by the IRS in the
                  System(s) of Records described in a separate implementation agreement
                  entered into between the IRS and ICE.

8. INFORMATION SECURITY:

The IRS and ICE will comply with the requirements of the Federal Information Security
Management Act (FISMA), 44 U.S.C. Chapter 35, Subchapter II, as amended by the Federal
Information Security Modernization Act of 2014 (Pub. L. No. 113-283); related Office of
Management and Budget (OMB) circulars and memoranda, such as Circular A-130, Managing
Information as a Strategic Resource (July 28, 2016), and Memorandum M-17-12, Preparing for
and Responding to a Breach of Personally Identifiable Information (PII) (Jan. 3, 2017); National
Institute of Standards and Technology (NIST) directives; and the Federal Acquisition Regulations,
including amendments published after the effective date of this MOU. These laws, directives, and
regulations include requirements for safeguarding Federal information systems and Personally
Identifiable Information used in Federal agency business processes, as well as related reporting
requirements. Both agencies recognize, and will implement, the laws, regulations, NIST standards,
and OMB directives, including those published subsequent to the effective date of this MOU.

The FISMA requirements apply to all Federal contractors, organizations, or entities that possess
or use Federal information, or that operate, use, or have access to Federal information systems on
behalf of an agency. Both agencies are responsible for oversight and compliance of their
contractors and agents.




                                                5
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
      Case 1:25-cv-00677-DLF          Document 68-1         Filed 05/13/25      Page 8 of 16




A. Incident Reporting
If the IRS or ICE experiences an incident involving the loss or breach of PII provided by IRS under
the terms of this MOU, they will follow the incident reporting guidelines issued by OMB. In the
event of a reportable incident under OMB guidance involving PII, the agency experiencing the
incident is responsible for following its established procedures, including notification to proper
organizations (i.e., Cybersecurity & Infrastructure Security Agency (CISA) and the agency’s
privacy office). Immediately upon discovery of a potential cybersecurity incident involving IRS-
provided PII, ICE will contact the IRS Computer Security Incident Response Center (CSIRC) at
240-613-3606.

B. Breach Notification
The IRS and ICE will follow PII data breach notification policies and related procedures as
required by OMB Memorandum M-17-12 (Jan. 3, 2017). If the agency that experienced the data
breach, after conducting a risk assessment, determines notification to the potentially impacted
individuals and an offer of an identity protection/identity monitoring service, and/or other remedies
is required, that agency will carry out the remedies without cost to the other agency.

9. DISCLOSURE, SAFEGUARDS, AND RECORD KEEPING REQUIREMENTS:

A. ICE will maintain all Federal tax returns and return information sourced from the IRS in
   accordance with IRC § 6103(p)(4) and comply with the safeguards requirements set forth in
   Publication 1075, Tax Information Security Guidelines for Federal, State and Local Agencies.
   Publication 1075 is the IRS-published guidance for security guidelines and other safeguards
   for protecting returns and return information, pursuant to 26 C.F.R. § 301.6103(p)(4).

The IRS safeguarding requirements include:

   1. ICE will establish a central point of control for all requests for and receipt of Federal tax
      returns and return information and maintain a log to account for all subsequent disclosures
      and products made with/from that information, and movement of the information until
      destroyed, in accordance with Publication 1075.

   2. ICE will establish procedures for secure storage of Federal tax returns and return
      information consistently maintaining two barriers of protection to prevent unauthorized
      access to the information, including when in transit, in accordance with Publication 1075.

   3. ICE will consistently label Federal tax returns and return information obtained under this
      MOU to make it clearly identifiable and to restrict access by unauthorized individuals. Any
      duplication or transcription of Federal tax returns and return information creates new
      records which must also be properly accounted for and safeguarded. Federal tax returns
      and return information should not be commingled with other ICE records unless the entire
      file is safeguarded in the same manner as required for Federal tax returns and return


                                                 6
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
  Case 1:25-cv-00677-DLF          Document 68-1        Filed 05/13/25      Page 9 of 16




   information and the Federal tax information (FTI) within is clearly labeled in accordance
   with Publication 1075.

4. ICE will restrict access to Federal tax returns and return information solely to officers and
   employees of ICE as described in this MOU for the purposes of carrying out this MOU.
   Prior to access ICE must evaluate which employees require such access. Authorized
   individuals may only access Federal tax returns and return information to the extent
   necessary to perform services related to, and as authorized by, this MOU, in accordance
   with Publication 1075.

5. Prior to initial access to FTI and annually thereafter, ICE will ensure that employees and
   officers that will have access to Federal tax returns and return information receive
   awareness training regarding the confidentiality restrictions applicable to the Federal tax
   returns and return information and certify acknowledgement in writing that they are
   informed of the criminal penalties and civil liability provided by IRC §§ 7213, 7213A, and
   7431 for any willful disclosure or inspection of Federal tax returns and return information
   that is not authorized by the IRC, in accordance with Publication 1075.

6. ICE will submit an annual Safeguard Security Report (SSR) to the Office of Safeguards by
   the submission deadline specified in Publication 1075 to provide an update on safeguarding
   activities during the reporting period. The SSR will also provide Head of Agency
   certification that the SSR addresses all Outstanding Actions identified by the IRS Office
   of Safeguards from the agency’s prior year SSR; accurately and completely reflects ICE’s
   current environment for the receipt, storage, processing, and transmission of FTI;
   accurately reflects the security controls in place to protect the FTI in accordance with
   Publication 1075 and of ICE’s commitment to assist the Office of Safeguards in the joint
   effort of protecting the confidentiality of FTI; support the Office of Safeguards on-site
   review to assess ICE’s compliance with Publication 1075 requirements by means of
   manual and automated compliance and vulnerability assessment testing, including
   coordination with information technology (IT) divisions to secure pre-approval, if needed,
   for automated system scanning and to support timely mitigation of identified risk to FTI in
   ICE’s Corrective Action Plan (CAP) for as long as ICE maintains Federal tax returns and
   return information. Required reports will be transmitted in electronic format and on the
   template provided by IRS Office of Safeguards using an IRS-approved encryption method
   in accordance with Publication 1075.

7. ICE will timely report all data incidents involving FTI to the Office of Safeguards and
   cooperate with Office of Safeguards investigators, providing data and access as needed to
   determine the facts and circumstances of the incident.

8. When a data incident results in ICE taking adverse or disciplinary action against an
   employee based on an unauthorized inspection or disclosure of FTI in violation of ICE’s
   procedures ICE must notify each impacted taxpayer in writing. The notification letter must
   include the date of the unauthorized inspection or disclosure and the rights of the taxpayer

                                             7
          UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF          Document 68-1        Filed 05/13/25     Page 10 of 16




       under IRC § 7431. ICE must report to IRS Safeguards when taxpayer notification letters
       are issued, in accordance with Publication 1075.
   9. ICE will ensure that Federal tax return and return information is properly destroyed or
      returned to the IRS when no longer needed based on established ICE record retention
      schedules in accordance with Publication 1075.

   10. ICE will conduct periodic internal inspections of facilities where Federal tax returns and
       return information is maintained to ensure IRS safeguarding requirements are met and will
       permit the IRS access to such facilities as needed to review the extent to which ICE is
       complying with the IRC § 6103(p)(4) requirements of this section.

   11. IRC § 6103(p)(9) requires ICE to conduct on-site assessments of each contractor’s
       compliance with safeguarding requirements. ICE must submit findings of the most recent
       review as part of the annual SSR submission. ICE must certify to the IRS that each
       contractor is in compliance with safeguarding standards in accordance with Pub 1075. ICE
       must ensure that contracts with contractors and subcontractors performing work involving
       returns or return information contain specific language requiring compliance with IRC §
       6103(p)(4) and Publication 1075 standards. Contract language must enforce ICE’s right to
       access contractor and subcontractor facilities in order to comply with IRC § 6103(p)(9) to
       ensure IRS safeguarding requirements are met.

   12. Usage of FTI for Artificial Intelligence (AI) purposes must be disclosed to the Office of
       Safeguards for assessment of compliance with safeguard requirements.

B. Generally, this MOU covers secure electronic transmission of Federal tax returns and return
   information to ICE, provided ICE computer systems are compliant with National Institute of
   Standards and Technology (NIST) Special Publication 800-53 standards and guidance for
   security of data at the moderate impact level. ICE’s SSR must fully describe the computer
   system and security controls implemented for the receipt, processing, storage, and transmission
   of electronic Federal tax returns and return information. Required security controls for systems
   that receive, process, store, and transmit electronic Federal tax returns and return information
   are specified in Publication 1075.

C. Any creation or receipt of Federal tax returns and return information in paper format must also
   be fully disclosed in ICE’s SSR. Required security controls associated with the receipt,
   processing, and storage of any Federal tax returns and return information received in paper
   format are specified in Publication 1075.

D. ICE must report suspected unauthorized inspection or disclosure of Federal tax returns and
   return information within 24 hours of discovery to the IRS Office of Safeguards in accordance
   with Publication 1075.

E. IRS will conduct periodic safeguard reviews of ICE to assess whether security and
   confidentiality of Federal tax returns and return information is maintained consistent with the

                                                8
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF           Document 68-1        Filed 05/13/25      Page 11 of 16




   safeguarding protocols described in Publication 1075, ICE’s SSR, and in accordance with the
   terms of this MOU. Periodic safeguard reviews will involve the inspection of ICE’s facilities
   where FTI is maintained; the testing of technical controls for computer systems storing,
   processing, or transmitting FTI; review of ICE’s recordkeeping and policies; and interviews of
   ICE’s employees to verify the use of FTI and to assess the adequacy of procedures established
   to protect FTI.

F. ICE recognizes and will reflect in its actions and procedures that all Safeguards documents and
   related communications are IRS official records; that they are property of the IRS; that IRS
   records are subject to disclosure restrictions under Federal law and IRS rules and regulations
   and may not be released publicly under state Sunshine or Information Sharing/Open Records
   provisions and that any requestor seeking access to IRS records should be referred to the
   Federal Freedom of Information Act (FOIA) statute. If ICE determines that it is appropriate to
   share Safeguards documents and related communications with another governmental
   function/branch for the purposes of operational accountability or to further facilitate protection
   of FTI, the recipient governmental function/branch must be made aware, in unambiguous
   terms, that Safeguards documents and related communications are property of the IRS; that
   they constitute IRS official records; that any request for the release of IRS records is subject
   to disclosure restrictions under Federal law and IRS rules and regulations and that any
   requestor seeking access to IRS records should be referred to the Federal Freedom of
   Information Act (FOIA) statute. Federal agencies in receipt of FOIA requests for Safeguards
   documents must forward them to IRS for reply.

G. All information received from ICE under this MOU becomes return information as defined in
   IRC § 6103(b)(2) and will not be further disclosed or disseminated except as authorized by
   IRC § 6103.

10. TRANSMITTAL PROCEDURES:

   Transmittal procedures and transmittal security requirements will be included in a separate
   implementation agreement entered into between IRS and ICE.




                                                 9
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF          Document 68-1        Filed 05/13/25      Page 12 of 16




11. LIABILITY:

A. Each party to this MOU shall be liable for the acts and omissions of its own employees.

B. The IRS shall not be liable for any injury to another party’s personnel or damage to another
   party’s property unless such injury or damage is compensable under the Federal Tort Claims
   Act (28 U.S.C. § 1346(b)), or pursuant to other Federal statutory authority. Similarly, ICE shall
   not be liable for any injury to another party’s personnel or damage to another party’s property
   unless such injury or damage is compensable under applicable Federal Tort Claims Act (28
   U.S.C. § 1346(b)), or pursuant to other Federal statutory authority.

C. This MOU is not an obligation or commitment of funds, nor a basis for transfer of funds, but
   rather is a basic statement of the understanding between the parties. Unless otherwise agreed
   in writing, each party shall bear its own costs in relation to this MOU. Expenditures by each
   party will be subject to its budgetary processes and to the availability of funds and resources
   pursuant to applicable laws, regulations, and policies.

12. THIRD PARTY RIGHTS:

This MOU does not confer any rights or benefits on any third party.

13. PRIVACY:

The IRS and ICE will ensure the integrity and accuracy of personal and financial data. The IRS
and ICE will perform their duties in a manner that recognizes and enhances individuals’ right of
privacy and will ensure their activities are consistent with laws, regulations, and good
administrative practices.

14. EFFECTIVE DATE:

The effective date of this MOU is the date it has been signed by all parties to the Agreement. The
information exchange contained in this agreement will not commence until a separate
implementation agreement between the IRS and ICE has been signed and implemented.




                                                10
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
     Case 1:25-cv-00677-DLF         Document 68-1        Filed 05/13/25      Page 13 of 16




15. AMENDMENT OF MOU:

This MOU may be amended by deletion or modification of any provisions, provided that such
amendment is in writing and is signed by all parties to the MOU.

16. TERMINATION OF MOU:

(U//LES) This MOU will remain in effect as necessary for the IRS to provide address information
in response to ICE requests satisfying the requirements contained in this MOU. This MOU may
be terminated upon ninety (90) days written notice by either the IRS or ICE, which shall describe
the rationale for the termination and be publicly posted on the respective party’s website 90 days
prior to termination.

17. LIMITATIONS:

Any provision of this MOU which conflicts with Federal law will be null and void. The provisions
of paragraph 11, Liability, will continue until all potential liabilities have lapsed.




                                               11
              UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
Case 1:25-cv-00677-DLF   Document 68-1   Filed 05/13/25   Page 14 of 16
     Case 1:25-cv-00677-DLF   Document 68-1    Filed 05/13/25   Page 15 of 16




APPROVALS:


U.S. DEPARTMENT OF TREASURY on behalf of the
INTERNAL REVENUE SERVICE

________________________________
Secretary Scott Bessent

Date: April ___, 2025




U.S. DEPARTMENT OF HOMELAND SECURITY on behalf of the
U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT



________________________________
Secretary Kristi Noem

Date: April 7, 2025




                                      12
             UNCLASSIFIED//LAW ENFORCEMENT SENSITIVE
Case 1:25-cv-00677-DLF   Document 68-1   Filed 05/13/25   Page 16 of 16
